To Council President Robert Nixon. August 26, 2019
l am hereby tendering my resignation from the Jackson Zoning Board of
Adjustment effective immediately.
lt is my pleasure to thank the Board’s professionals, Sean Gertner,
Ernie Peters, Evan Hill and Frank Miskovich, for their excellent advice and
guidance.
To all the women and men l have served with the last 1 1 years, it was an
honor to work with you. I wish the best to the present Board members. as
they continue to represent our great Township.
Respectfully
Sheldon J. Hofstein
co. Janice Kisty
Sean Gertner
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JERSEY SHORE NEWS       EVENTS       SPORTS   POLICE BLOTTER POLITICS     HEADLINE NEWS          REP
FOLLOW US ON FACEBOOK
COMMUNITY
More Jackson Land Use Board
Members Resign After Attending
Controversial Meeting
By Phil Stilton
Posted on August 24, 2019
LATEST NEWS
NEW JERSEY
SHARE            TWEET       SHARE           EMAIL                                        How Dan Rodrick Can Still
COMMENTS                           Become “Mayor” of Toms
River in November
JACKSON NEWS
Dirt Mafia Wars: Glory
Faction Whacks Three of




                                                                                                   Case 3:17-cv-03226-MAS-DEA Document 60-3 Filed 09/30/19 Page 2 of 6 PageID: 1935
Mayor Mike Reina’s Top
JACKSON-Jackson Township’s planning and zoning boards which have been                                   Captains
plagued by resignations and terminations over the past few years are now involved in
another controversy. Three appointed members of those boards and a sitting school                       BRICK NEWS
Ocean County GOP
board member are now under fire for their attendance at a meeting by a group named                      Scrambling for Cash, Respect
CUPON (Citizens United to Protect Our Neighborhoods).                                                   as Critical Elections Near
Jackson planning board member Richard Egan and zoning board member Joseph
FEATURED STORY
Sullivan submitted their resignations to the township today. A third member at the
Mass Shooting: At Least
meeting, zoning board member Sheldon Hoffstein has yet to tender his resignation.                       Three Shot in South Toms
River
Another public official, school board member Gus Acevedo attended the meeting that
discussed how to curb the rapid growth of the town’s growing Orthodox Jewish
community.                                                                                              COMMUNITY
Freeholders Approve $1
Today, Mayor Michael Reina confirmed the resignations.                                                   Million Open Space Purchase
for Property Assessed at
$480,000
While their presence at the meeting was not illegal by any means and may not even
cross ethical lines, their presence and comments made could jeopardize present and
future rulings by the boards they serve on and put the township into further legal             TRENDING NEWS
complications in its court battle against Orthodox Jewish developers and Agudath                         HEADLINE NEWS
Israel of America.                                                                                       Odd Clinton Painting Found at
the Home of Dead Pedophile
Jeffrey Epstein
Sullivan, who also serves on the executive board of the Jackson Republican Club
lashed out this week against Jackson Republican committee chairwoman Clara Glory.
Sullivan came under fire by Republican Club leaders and fired off a retaliation                          MONMOUTH COUNTY NEWS
message on his Facebook page after being asked to resign from the board.                                 WARNING: Manasquan
Reservoir Dangerous to
Humans, Pets after Harmful




                                                                                                   Case 3:17-cv-03226-MAS-DEA Document 60-3 Filed 09/30/19 Page 3 of 6 PageID: 1936
“Clara Glory and her family have run the Republican party into the ground in Jackson,”                   Algae Bloom Grows
Sullivan said. “They stab people in the back, secure jobs for their family members and
let their personal vendettas and hatreds take out innocent bystanders.”                                  COMMUNITY
Freeholders Approve $1
Million Open Space Purchase
Sullivan said that members of the club wanted him to resign earlier in the week over his                 for Property Assessed at
attendance at the meeting.                                                                               $480,000
“They are mad because I won’t go quietly and let myself be sacrificed on their altar of                  FEATURED STORY
Mass Shooting: At Least
greed,” Sullivan said.                                                                                   Three Shot in South Toms
River
Then on Friday, after audio excerpts from the CUPON meeting were released on the
Orthodox Jewish news website, the Lakewood Scoop, Sullivan voluntarily tendered
COMMUNITY
his resignation An attendee of that meeting had audio recorded the entire meeting,
More Jackson Land Use
much of which was previewed by Shore News Network on Thursday to ensure its                              Board Members Resign After
validity.                                                                                                Attending Controversial
Meeting
After hearing the audio, we reached out to New Jersey Assemblyman Gregory P,
McGuckin over the past two days, the planning board attorney and alerted McGuckin to
the presence of an audio recording. McGuckin did not answer any texts or phone calls
regarding the incident.
At that meeting, while checking in, the three Jackson board members admitted they
should not be at the meeting and requested to not sign in.
“We’re not supposed to be here,” Sheldon Hoffstein is heard saying. “Nobody saw us.”
“We didn’t sign in, we’re neutral like invisible,” Egan said.
“We weren’t here,” Sullivan said.
Shortly before resigning from the board after the audio was published by the Lakewood
Scoop, Sullivan retracted his comments about MUA Chairwoman Clara Glory and the
Republican Club.
“It was once said to me that politics is a dirty business. I don’t want to help to keep it a
dirty business. It was wrong of me to attack Clara Glory and her family. I wish to
apologize to her and Pat Wood and the rest of their family,” Sullivan said, “I am sorry.
One man caused an issue that le[a]d us to all of this. He knows who he is and that man
is responsible alone. I am responsible for what I posted, and I apologize to anyone hurt
by it.”
Sullivan did not say who he was referring to.
On Thursday, Glory’s MUA board approved a resolution allowing for the construction of
water and sewer lines along the length of South Hope Chapel Road to facilitate the
construction of the Jackson Pines residential development.
Jackson Township has yet to release an official statement on the matter.
Related News: The resignations continue a long history of troubles for Jackson’s
planning and zoning boards.
Photo by The Lakewood Scoop
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River in November              Whacks Three of Mayor Mike       as Critical Elections Near
Reina’s Top Captains




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How Dan Rodrick Can Still Become “Mayor” of Toms River in November          FEATURED      SPORTS      SHORE CONFERENCE      SHORE       NJ    OCEAN
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Dirt Mafia Wars: Glory Faction Whacks Three of Mayor Mike Reina’s Top
Captains                                                                    NEW JERSEY      POLICE BLOTTER    JACKSON       BOOKS       READING
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